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                    UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF SOUTH CAROLINA


IN RE:                                                        C/A No. 18-03282-hb
Vestel Angela Whittle                                             Chapter 13


                                                          SETTLEMENT ORDER
                                                                 ON
                                                        MOTION FOR RELIEF FROM
                                     Debtor(s).            AUTOMATIC STAY


    This matter comes before the Court on the motion for relief from the automatic stay filed by
Nationstar Mortgage LLC d/b/a Mr. Cooper ("Movant"). The chapter 13 trustee did not object to
the motion or has agreed to the settlement. The property serving as collateral which is the
subject of the motion is described as follows:

            2874 Pine Log Road, Warrenville, Aiken County, South Carolina 29851

   Upon Movant's certification of the agreement of the parties, it is hereby ORDERED:

    As of February 27, 2019, Debtor has accrued a post petition arrearage in the amount of
$4,622.52. The post petition arrearage consists of:
       - Payments for the month(s) of November 2018 - February 2019 in the amount of
          $897.88 per month.
       - Attorney's fees and costs in the amount of $1,031.00.
    Debtor shall continue to remit to Movant the regular post petition monthly payments
beginning March 1, 2019, and continuing thereafter in accordance with the terms of the loan
agreement and the chapter 13 plan.

   In addition to the regular post petition monthly payment set forth above, Debtor shall cure the
post petition arrearage of $4,622.52 as follows:
        - Pay $335.03 per month beginning March 1, 2019 for 11 months.
        - Pay final payment of $335.07 by February 1, 2020.
        - Movant will credit the suspense balance in the amount of $602.12.

   Failure to make a payment within 20 days from its due date shall be considered a default
under the terms of this settlement order.

   Payments shall be paid directly to Movant at:
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                               Nationstar Mortgage LLC
                               PO Box 619094
                               Dallas, TX 75261-9741

    In the event of a default under the terms of this Order, relief from stay may be provided
without further hearing upon the filing of an affidavit of default by Movant and the entry of the
proposed order by the Court. Movant may then proceed with its state court remedies against the
collateral, including sending any required notice to Debtor(s). This ex parte provision shall
expire and no longer be effective 24 months from the entry of this order.

     Movant has waived any claim arising under 11 U.S.C. § 503(b) or § 507(b) and, in the event
relief from the automatic stay is granted due to Debtor(s)' default under the terms of this
Settlement Order, agreed that any funds realized from the disposition of its collateral in excess of
all liens, costs, and expenses will be paid to the trustee or bankruptcy estate.

   The parties agree that the Fed. R. Bankr. P. 4001(a)(3) stay is applicable to any order
granting relief for default on this Settlement Order.

   AND IT IS SO ORDERED.




 FILED BY THE COURT
     03/01/2019




                                                    US Bankruptcy Judge
                                                    District of South Carolina



   Entered: 03/04/2019
